Case 1:21-cv-00130-MAC   Document 102 Filed 11/20/24         Page 1 of 16 PageID #:
                                   2661



                 IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF TEXAS, BEAUMONT DIVISION


COALITION FOR WORKFORCE )
INNOVATION, ET AL.,        )
      PLAINTIFFS           )
                           )             Case No. 1:21-cv-00130-MAC
v.                         )
                           )
JULIE SU, ET AL.,          )
      DEFENDANTS           )
__________________________ )




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Case 1:21-cv-00130-MAC   Document 102 Filed 11/20/24      Page 2 of 16 PageID #:
                                   2662



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Case 1:21-cv-00130-MAC                         Document 102 Filed 11/20/24                              Page 3 of 16 PageID #:
                                                         2663

                                                   TABLE OF CONTENTS

                                                                                                                                    Page
INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 2

       A.        The Chevron Era ........................................................................................................... 2

       B.        The Loper Bright Era .................................................................................................... 3

ARGUMENT .................................................................................................................................. 5

            I.    The Department’s New Interpretation of the FLSA Is Due No Special “Respect”
                  Under Skidmore as Clarified by Loper Bright............................................................. 5

            II. Loper Bright Confirms the Department’s Withdrawal and Replacement of the 2021
                Rule Was Arbitrary and Capricious ............................................................................ 7

CONCLUSION ............................................................................................................................... 9
Case 1:21-cv-00130-MAC                        Document 102 Filed 11/20/24                              Page 4 of 16 PageID #:
                                                        2664



                                                TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

Cases

Alejos-Perez v. Garland,
    93 F.4th 800 (5th Cir. 2024) ......................................................................................................5

SEC v. Chenery Corp.,
   318 U.S. 80 (1943) .....................................................................................................................5

Chevron U.S.A. v. Natural Resources Defense Council, Inc.,
   467 U.S. 837 (1984) ......................................................................................................... passim

City of Arlington v. FCC,
    569 U.S. 290 (2013) (Roberts, C.J., dissenting) ....................................................................3, 7

Dep’t of Homeland Sec. v. Regents of the Univ. of Cal.,
   591 U.S. 1 (2020) .......................................................................................................................8

Encino Motorcars, LLC v. Navarro (Encino I),
   579 U.S. 211 (2016) ...................................................................................................................7

FCC v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) ...................................................................................................................7

Gutierrez-Brizuela v. Lynch,
   834 F.3d 1142 (10th Cir. 2016) (Gorsuch, J., concurring) ........................................................3

Loper Bright Enterprises v. Raimondo,
   144 S. Ct. 2244 (2024) ..................................................................................................... passim

Nat'l Cable & Telecommunications Ass'n v. Brand X Internet Servs.,
   545 U.S. 967 (2005) ...................................................................................................................4

Relentless v. Department of Commerce,
   2024 U.S. App. LEXIS 19654, 2024 WL 3647769 (July 31, 2024)..........................................3

Restaurant Law Center v. Department of Labor,
   120 F.4th 163 (5th Cir. 2024) ....................................................................................................6

Saldivar v. Sessions,
   877 F.3d 812 (9th Cir. 2017) .....................................................................................................6

Sheppard v. Davis,
   967 F.3d 458 (5th Cir. 2020) .....................................................................................................5
Case 1:21-cv-00130-MAC                         Document 102 Filed 11/20/24                              Page 5 of 16 PageID #:
                                                         2665



Skidmore v. Swift & Co.,
    323 U.S. 134 (1944) ......................................................................................................... passim

Sw. Elec. Power Co. v. EPA,
   920 F.3d 999 (5th Cir. 2019) .....................................................................................................8

Statutes

Administrative Procedure Act..........................................................................................................1

Fair Labor Standards Act .....................................................................................................1, 5, 6, 7

Other Authorities

29 C.F.R. § 795.100 .........................................................................................................................5

89 Fed. Reg. at 1638-1741 ...............................................................................................................5




                                                                      2
Case 1:21-cv-00130-MAC           Document 102 Filed 11/20/24             Page 6 of 16 PageID #:
                                           2666



                                      INTRODUCTION
       The Supreme Court’s landmark ruling in Loper Bright Enterprises v. Raimondo, 144 S. Ct.

2244 (2024), confirms that the Department of Labor’s arbitrary 2024 Rule cannot stand. In Loper

Bright, the Supreme Court overruled Chevron U.S.A. v. Natural Resources Defense Council, Inc.,

467 U.S. 837 (1984). In doing so, the Court held that “[c]ourts must exercise their independent

judgment in deciding whether an agency has acted within its statutory authority, as the

[Administrative Procedure Act] requires.” Loper Bright, 144 S. Ct. at 2273. And the Court

confirmed that “courts need not and under the APA may not defer to an agency interpretation of

the law simply because a statute is ambiguous.” Id. Although courts may still give “due respect”

to longstanding agency interpretations under Skidmore v. Swift & Co., 323 U.S. 134 (1944), such

respect depends on “the thoroughness evident in its consideration, the validity of its reasoning, its

consistency with earlier and later pronouncements, and all those factors which give it power to

persuade.” Id. at 2248, 2259.

       Despite the Department’s attempt to sweep aside this decision, see ECF No. 96 (“DOL

Reply”) at 2 n.1, Loper Bright reinforces that the 2024 Rule is unlawful for two independent

reasons.

       First, Loper Bright confirms that the Department’s interpretation of the Fair Labor

Standards Act (“FLSA”) is due no special respect under Skidmore. To start, DOL forfeited any

claim to Skidmore respect by raising the issue only in a footnote on reply. And even if DOL had

not forfeited the argument, it would be improper to resort to the agency’s interpretation for

guidance on the legal questions in this case. Loper Bright underscored that, under Skidmore, the

weight of an agency’s judgment in any particular case depends on the “thoroughness,” “validity,”

and “consistency” of the agency’s reasoning. 144 S. Ct. at 2259 (quoting Skidmore, 323 U.S. at
Case 1:21-cv-00130-MAC           Document 102 Filed 11/20/24             Page 7 of 16 PageID #:
                                           2667



140). Here, the Department’s poorly reasoned about-face from the 2021 Rule meets none of these

criteria and thus warrants no respect under Skidmore.

        Second, some of the core problems that led the Court to overrule Chevron plague the 2024

Rule. The Court recognized that “Chevron gravely erred” by giving agencies free reign to enact

sweeping rulemakings without any meaningful check from the judiciary. Loper Bright, 144 S. Ct.

at 2266. Coupled with this agency overreach was the problem of agencies seizing “a license” to

“change positions” thus “foster[ing] unwarranted instability in the law” and “leaving those

attempting to plan around agency action in an eternal fog of uncertainty.” Id. at 2272 (majority

op.). That kind of regulatory whiplash is exactly what DOL perpetrated here when it promulgated

a new rule that arbitrarily—and aggressively—reverses course from the 2021 Rule without

justification. Loper Bright’s reasoning supports vacating the 2024 Rule.

        This Court should follow Loper Bright and grant summary judgment to Plaintiffs.

                                       BACKGROUND
        A. The Chevron Era

        The Supreme Court’s 1984 decision in Chevron set forth “a two-step framework” for

interpreting statutory provisions that agencies had been given authority to administer via “‘rules

carrying the force of law.’” Loper Bright, 144 S. Ct. at 2254, 2268. First, a court had to determine

“whether Congress has directly spoken to the precise question at issue.” Chevron, 467 U.S. at 842.

If so, that was “the end of the matter” because courts and agencies “must give effect to the

unambiguously expressed intent of Congress.” Id. at 842-43. But if the court determined that the

statute was “silent or ambiguous” on the relevant question, then Chevron instructed the court to

defer to the agency’s interpretation so long as it was “based on a permissible construction of the

statute.” Id. at 843.


                                                 2
Case 1:21-cv-00130-MAC          Document 102 Filed 11/20/24             Page 8 of 16 PageID #:
                                          2668



       Chevron was a “watershed decision” that “triggered a marked departure from the

traditional approach” to statutory interpretation in administrative-law cases. Loper Bright, 144

S. Ct. at 2264. Over the next 40 years, Chevron “formed the backdrop against which Congress,

courts, and agencies—as well as regulated parties and the public—all have operated.” Id. at 2294

(Kagan, J., dissenting); see also id. at 2264-65 (majority op.) (similarly explaining how Chevron

came to be “routinely invok[ed]”). By granting agencies unprecedented freedom to define “the

scope of [their] own power,” id. at 2266, Chevron became a “powerful weapon in an agency’s

regulatory arsenal” that enabled agency overreach, self-aggrandizement, and all the other

“danger[s] posed by the growing power of the administrative state,” City of Arlington v. FCC, 569

U.S. 290, 314-15 (2013) (Roberts, C.J., dissenting).

       B. The Loper Bright Era

       In light of these concerns, the Supreme Court decided to revisit Chevron deference after

years of mounting criticism of the doctrine from the bench and the academy. See, e.g., Gutierrez-

Brizuela v. Lynch, 834 F.3d 1142, 1149 (10th Cir. 2016) (Gorsuch, J., concurring) (explaining how

Chevron “permit[ted] executive bureaucracies to swallow huge amounts of core judicial and

legislative power and concentrate federal power in a way that seems more than a little difficult to

square with the Constitution of the framers’ design”). And in June 2024, the Court overruled

Chevron in two companion cases—Loper Bright, 144 S. Ct. at 2273, and Relentless v. Department

of Commerce, 2024 U.S. App. LEXIS 19654, 2024 WL 3647769 (July 31, 2024). The Court held

the “deference that Chevron requires of courts reviewing agency action cannot be squared” with

the APA, which commands that “‘the reviewing court’—not the agency whose action it reviews—

is to ‘decide all relevant questions of law’ and ‘interpret … statutory provisions.’” Id. at 2263,

2265 (quoting 5 U.S.C. § 706). Chevron transgressed that command by “demand[ing] that courts


                                                3
Case 1:21-cv-00130-MAC           Document 102 Filed 11/20/24              Page 9 of 16 PageID #:
                                           2669



mechanically afford binding deference to agency interpretations, including those that have been

inconsistent over time,” and “forc[ing] courts to do so even when a pre-existing judicial precedent

holds that the statute means something else.” Id. at 2265.

       Loper Bright made clear that Chevron involved “much more” deference than courts had

ever afforded under prior decisions such as Skidmore, which allowed agencies to attempt to

“persuade” but not “control” courts. Loper Bright, 144 S. Ct. at 2259, 2265 (quoting Skidmore,

323 U.S. at 140). Skidmore is a matter not of deference, but of “respect” for the government’s

informed views. Id. at 2258. This “Skidmore respect” “depend[s] upon” “the thoroughness evident

in [the agency’s] consideration, the validity of its reasoning,” and “its consistency with earlier and

later pronouncements,” among other factors. Id. at 2259. Such respect provides for “the sort of

stable background rule that fosters meaningful reliance,” which Chevron did not. Id. at 2272

(internal quotation marks omitted). “Rather than safeguarding reliance interests,” the Court

explained, “Chevron affirmatively destroys them” by allowing any statutory ambiguity to

“become[] a license authorizing an agency to change positions as much as it likes, with

unexplained inconsistency being at most a reason for holding an interpretation to be arbitrary and

capricious.” Id. (cleaned up) (quoting Nat’l Cable & Telecommunications Ass’n v. Brand X

Internet Servs., 545 U.S. 967, 981 (2005)). In other words, Chevron “allows agencies to change

course even when Congress has given them no power to do so.” Id.

       Loper Bright now instructs that “[c]ourts must exercise their independent judgment in

deciding whether an agency has acted within its statutory authority, as the APA requires.” 144

S. Ct. at 2273. Although the views of “the Executive Branch may help inform that inquiry” when

appropriate under Skidmore, courts “may not defer to an agency interpretation of the law simply

because a statute is ambiguous.” Id.

                                                  4
Case 1:21-cv-00130-MAC            Document 102 Filed 11/20/24                Page 10 of 16 PageID #:
                                             2670



                                           ARGUMENT
  I.    The Department’s New Interpretation of the FLSA Is Due No Special “Respect”
        Under Skidmore as Clarified by Loper Bright

        In the post-Chevron era, this Court should not afford “respect” to the Department’s

interpretation of the FLSA in the 2024 Rule under Skidmore, 323 U.S. at 140, as clarified by Loper

Bright, 144 S. Ct. at 2267.

        To start, the Department has forfeited any claim to Skidmore respect by failing to raise it

in a timely and meaningful way. The Department failed to cite Skidmore anywhere in the over-

100-page preamble to the 2024 Rule. 89 Fed. Reg. at 1638-1741. The Department cited it exactly

once in the text of the rule itself—in an “Introductory Statement” that cited a different portion of

the Skidmore opinion, not addressing whether judicial “respect” is owed to the Department’s

interpretations. Id. at 1741-42 (29 C.F.R. § 795.100). That alone forecloses DOL from attempting

to raise Skidmore in a post-hoc litigation argument, because under fundamental principles of

administrative law an agency may defend its action in court only by “the considerations ... upon

which its action was based” in the administrative process below. SEC v. Chenery Corp., 318 U.S.

80, 92 (1943). Moreover, even in this Court, the Department cited Skidmore only in a conclusory

footnote in its reply brief (at 2 n.1), and did not actually ask the Court for Skidmore respect or

explain why its interpretation would be entitled to extra weight under the relevant factors. This

buried reference is insufficient to preserve the issue, and this Court should reject any request to

apply Skidmore here. See Alejos-Perez v. Garland, 93 F.4th 800, 807 (5th Cir. 2024) (holding that

a party’s “failure to raise ... authorities in [its] opening brief forfeits [its] ability to rely on them);

Sheppard v. Davis, 967 F.3d 458, 468 n.6 (5th Cir. 2020) (holding that “arguments are waived”

when presented only “[i]n a footnote” without sufficient “expla[nation]”).



                                                    5
Case 1:21-cv-00130-MAC          Document 102 Filed 11/20/24              Page 11 of 16 PageID #:
                                           2671



       In any event, Skidmore “respect” is not due here. Loper Bright explained that Skidmore

respect may be warranted “when an Executive Branch interpretation was issued roughly

contemporaneously with enactment of the statute and remained consistent over time.” 144 S. Ct.

at 2258. That’s not this case, as the 2024 Rule postdates the 1938 FLSA by nearly 90 years and

adopts a novel interpretation of the statute inconsistent with prior interpretations. See CWI Br. 18-

24.

       Additionally, DOL’s statutory analysis in the 2024 Rule has no “power to persuade”

because it lacks the “thoroughness” and “validity of … reasoning” required to merit judicial

respect. Loper Bright, 144 S. Ct. at 2259 (quoting Skidmore, 323 U.S. at 140). As Plaintiffs have

explained, DOL’s novel approach to the FLSA improperly relies on cherry-picked snippets of prior

cases to construct a novel multifactor test inconsistent with the FLSA as interpreted by controlling

Supreme Court precedent. See CWI Br. 14-18. Where an agency interpretation rests on a

“misinterpretation of” judicial precedent, it is not “persuasive or based on valid reasoning,”

rendering Skidmore inapposite. Saldivar v. Sessions, 877 F.3d 812, 815 n.3 (9th Cir. 2017)

(declining to accord Skidmore respect).

       A recent Fifth Circuit decision applying Loper Bright in ruling against the Department

confirms these points. In Restaurant Law Center v. Department of Labor, DOL sought Skidmore

respect for a Department FLSA interpretation that was “of some vintage,” dating back to “at least

1988.” 120 F.4th 163, 174 (5th Cir. 2024). Nonetheless, the Fifth Circuit rejected that request,

holding under Loper Bright that the Department’s view, “however longstanding,” could not

“defeat the FLSA’s plain text.”        Id.   The same result follows a fortiori here, where the

Department’s new interpretation of “independent contractor” and “employee” in the 2024 Rule is

neither longstanding nor consistent.

                                                  6
Case 1:21-cv-00130-MAC         Document 102 Filed 11/20/24             Page 12 of 16 PageID #:
                                          2672



 II.    Loper Bright Confirms the Department’s Withdrawal and Replacement of the 2021
        Rule Was Arbitrary And Capricious

        Loper Bright provides additional reasons why the 2024 Rule cannot stand. There, the Court

took a significant step to curb the problem of agency overreach—or the “‘vast’” and unaccountable

“‘power’” of “the ‘headless fourth branch of government,’” City of Arlington, 569 U.S. at 314

(Roberts, C.J., dissenting). By demoting agencies back to their properly limited “‘place’” in our

“‘regime of separate and divided powers,’” Loper Bright took direct aim at the excesses of agency

self-aggrandizement that have come to characterize the modern administrative state. 144 S. Ct. at

2261.

        Here, the Department’s 2024 Rule is a striking example of such agency overreach. Rather

than faithfully fulfill its role in executing the FLSA, DOL has seized the opportunity to pull

legitimate independent-contractor relationships into its regulatory oversight of employees. DOL

has advanced this agenda under the guise of “interpretation” and put a thumb on the scale for

employee classification at every turn. See CWI Br. 17-24. This rulemaking embodies “the danger

posed by the growing power of the administrative state” that Chevron enabled, City of Arlington,

569 U.S. at 315, but that Loper Bright has now rejected.

        In addition, Loper Bright reaffirmed that an agency may change its position, but courts

should scrutinize changes to ensure that the agency has provided a reasoned explanation for the

change and articulated “good reasons for the new policy.” FCC v. Fox Television Stations, Inc.,

556 U.S. 502, 515 (2009). When a previous policy has “engendered serious reliance interests,”

those reliance interests must be “taken into account” and the agency must “provide a more detailed

justification than what would suffice for a new policy.” Encino Motorcars, LLC v. Navarro

(Encino I), 579 U.S. 211, 222 (2016) (quotation marks omitted); Fox TV, 556 U.S. at 515-16. It



                                                7
Case 1:21-cv-00130-MAC            Document 102 Filed 11/20/24            Page 13 of 16 PageID #:
                                             2673



is for these reasons that an “‘[u]nexplained inconsistency in agency policy is a reason for holding

an interpretation to be … arbitrary and capricious.’” Sw. Elec. Power Co. v. EPA, 920 F.3d 999,

1030 (5th Cir. 2019) (alteration in original); see also Dep’t of Homeland Sec. v. Regents of the

Univ. of Cal., 591 U.S. 1, 30 (2020) (“‘It would be arbitrary and capricious to ignore’” “‘legitimate

reliance’ on” the government’s prior position as well as reasonable “‘alternative[s]’” to changing

that position (alteration in original)).

        Loper Bright accords with the line of cases that Plaintiffs use to argue DOL violated the

APA by failing to “show that there are good reasons” for abandoning the 2021 Rule and reasonably

explain that change in position. CWI Br. 14 (quoting Fox TV, 556 U.S. at 515, and citing Encino

I, 579 U.S. at 222); see also, e.g., id. at 4 (citing Sw. Elec. Power, 920 F.3d at 1030); CWI Reply

at 9, 25 (similar). As Loper Bright makes clear, these precedents policing agency overreach are

connected: The same administrative-law values of “safeguarding reliance interests” and “stability”

in the law lie at the root of both overruling Chevron and vacating unexplained inconsistency in

agency action. 144 S. Ct. at 2272.

        The Department’s 2024 Rule exemplifies the excesses of the Chevron era. Millions of

independent contractors and large and small businesses had come to rely on the 2021 Rule’s stable,

predictable core-factor framework in structuring their operations and classifying these workers as

independent contractors. See CWI Br. 28. In these circumstances, where the agency’s change in

position destabilizes the law and increases regulatory burdens on the public, close scrutiny is

especially warranted. The Department’s abrupt and poorly reasoned rescission and replacement

of the 2021 Rule falls fatally short and has left those businesses “attempting to plan around agency

action in an eternal fog of uncertainty.” Loper Bright, 144 S. Ct. at 2272.




                                                 8
Case 1:21-cv-00130-MAC         Document 102 Filed 11/20/24            Page 14 of 16 PageID #:
                                          2674



                                      CONCLUSION
       Plaintiffs respectfully request that the Court grant their Motion for Summary Judgment and

deny Defendant’s Cross-Motion; declare unlawful and set aside DOL’s rescission of the 2021 Rule

and promulgation of the 2024 Rule; declare that the 2021 Rule has been and remains in effect as

of March 8, 2021; and enjoin DOL from enforcing the 2024 Rule.




                                            Respectfully submitted,

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Case 1:21-cv-00130-MAC   Document 102 Filed 11/20/24       Page 15 of 16 PageID #:
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                                     10
Case 1:21-cv-00130-MAC        Document 102 Filed 11/20/24            Page 16 of 16 PageID #:
                                         2676




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                                             11
